

Summit Dev. Corp. v Hudson Meridian Constr. Group LLC (2023 NY Slip Op 00937)





Summit Dev. Corp. v Hudson Meridian Constr. Group LLC


2023 NY Slip Op 00937


Decided on February 16, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 16, 2023

Before: Renwick, J.P., Oing, Mendez, Rodriguez, Pitt-Burke, JJ. 


Index No. 650172/09 650755/09 650239/09 Appeal No. 17351 Case No. 2022-01277 

[*1]Summit Development Corp., Doing Business as Summit Waterproofing and Restoration Co., Plaintiff-Respondent,
vHudson Meridian Construction Group LLC, et al., Defendants-Appellants. [And Other Actions] 


Georgoulis PLLC, New York (Chris Georgoulis of counsel), for appellants.
Mastropietro Law Group, PLLC, New York (John P. Mastropietro of counsel), for respondent.



Appeal from judgment, Supreme Court, New York County (David B. Cohen, J.), entered December 10, 2021, awarding plaintiff the total sum of $3,576,781.85 against defendants Hudson Meridian Construction Group LLC and Federal Insurance Company, unanimously dismissed, with costs, as taken from a nonappealable paper.
The judgment is not appealable as of right because it is one "entered subsequent to an order of the appellate division which disposes of all the issues in the action" (CPLR 5701[a][1]). The parties' prior appeal from the posttrial order resulted in an order from this Court disposing of all issues (Summit Dev. Corp. v Hudson Meridian Constr. Group LLC, 198 AD3d 553 [1st Dept 2021]). This Court's remittance to Supreme Court did not alter the finality of the order; the remittance involved only the ministerial act of mathematical calculations without requiring any further fact-finding or exercise of the court's discretion (see Greenburgh Eleven Union Free School Dist. v National Union Fire Ins. Co. of Pittsburgh, Pa., 2 AD3d 109 [1st Dept 2003], lv dismissed 1 NY3d 622 [2004]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 16, 2023








